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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
          Plaintiff,                              )     Criminal No. 6:10-cr-00034-GFVT-HAI
                                                  )
 V.                                               )
                                                  )
 JASON LAWRENCE TAYLOR,                           )                     ORDER
                                                  )
                                                  )
          Defendant.                              )

                                       *** *** *** ***

         This matter is before the Court on the Recommended Disposition filed by United States

Magistrate Judge Hanly A. Ingram. [R. 78.] The Defendant, Mr. Jason Lawrence Taylor, is

charged with three violations of his supervised release, all related to an incident that occurred on

January 1, 2016. Specifically, on January 12, 2016, Mr. Taylor tested positive for the presence

of methamphetamine, and he informed his probation officer that “on January 1, 2016, he was

riding all-terrain vehicles with some friends and, after consuming beer and liquor, he ‘snorted

two lines of methamphetamine.’” [R. 78 at 1-2.] This conduct constitutes three violations of Mr.

Taylor’s supervised release: (1) a violation of the condition prohibiting him from the use and/or

possession of any controlled substances; (2) a violation of the condition requiring him to refrain

from committing another federal, state, or local crime; and (3) a violation of the condition

requiring him to abstain from the use of alcohol. At a final hearing before Judge Ingram on

February 12, 2016, Mr. Taylor competently stipulated to all three of the alleged violations. [Id.

at 2.]

         On February 16, 2016, Judge Ingram issued a Recommended Disposition which
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recommended revocation of Mr. Taylor’s term of supervised release and a term of incarceration

of ten (10) months, to be followed by a twenty-six (26) month term of supervision. [Id. at 7-8.]

This recommendation was the same as that agreed to by both parties. [Id. at 3.] After

considering the Recommended Disposition, the Court finds Judge Ingram appropriately

considered the 18 U.S.C. § 3553 factors in coming to his recommended sentence. Judge Ingram

noted the severity of Mr. Taylor’s drug problem and also his criminal record, which includes not

only drug offenses but also dangerous firearms possession. As the instant January 1, 2016,

offense involved alcohol and drug use as well as a loaded firearm, the offense represents a

serious breach of the Court’s trust and dangerous conduct for which a significant term of

imprisonment is warranted. Further, the recommended sentence is within the range set forth in

Chapter 7 of the United States Sentencing Guidelines. And finally, Judge Ingram adequately

anticipated Mr. Taylor’s needs following his release from confinement and appropriately

provided for additional conditions of Mr. Taylor’s supervised release going forward.

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition advises the parties that objections must be filed within fourteen (14) days of service.

[Id. at 8.] See 28 U.S.C. § 636(b)(1). No objections to Judge Ingram’s Recommended

Disposition were filed within the appropriate time period by either party. Further, Mr. Taylor

through counsel submitted a Waiver of Allocution, signed on February 12, 2016, and filed in the

record on March 22, 2016. [See R. 80.]

       Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, the Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474



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U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has examined the record and agrees with Magistrate Judge Ingram’s Recommended

Disposition. Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      The Recommended Disposition [R. 78] as to Defendant Jason Lawrence Taylor is

ADOPTED as and for the Opinion of the Court;

       2.      Defendant Jason Lawrence Taylor is found to have violated the terms of his

Supervised Release as set forth in the Report filed by the U.S. Probation Officer and the

Recommended Disposition of the Magistrate Judge;

       3.      Mr. Taylor’s Supervised Release is REVOKED;

       4.      Mr. Taylor is hereby sentenced to a term of imprisonment of ten (10) months,

with a term of supervised release of twenty-six (26) months to follow. The term of supervised

release shall be imposed under the same conditions previously imposed at R. 67, with the added

condition that, as soon as practicable following release, Mr. Taylor shall enroll in and complete

an inpatient substance abuse treatment program. The length of such program shall be left to

the discretion of the United States Probation Office. Following Mr. Taylor’s completion of the

program, he shall be subject to drug testing by the United States Probation Office every ten (10)

days for a period of two (2) months, with testing at the United States Probation Office’s

discretion thereafter;

       5.      Mr. Taylor shall appear before Magistrate Judge Hanly A. Ingram for a status

conference on March 15, 2017, at 1:00 p.m., at the United States Courthouse in London,



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Kentucky, to discuss his progress with drug treatment and supervised release; and

       6.     Judgment shall be entered promptly.

       This the 23rd day of March, 2016.




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